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     for and on behalf of Arizona State University
 6
 7
 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                         FOR THE DISTRICT OF ARIZONA

10       Arizona Board of Regents, a body
         corporate, for and on behalf of                 Case No. 2:20-CV-01638-DWL
11       Arizona State University,
12                                                       PLAINTIFF’S NOTICE OF
                            Plaintiff,                   WITHDRAWAL OF MOTION
13                                                       WITHOUT PREJUDICE AND
        v.                                               REQUEST TO VACATE TRO
14                                                       HEARING
        John Doe aka “asu_covid.parties,” an
        individual, and Facebook, Inc., a
15      Delaware corporation
16                          Defendants.
17
18            Plaintiff Arizona Board of Regents, a body corporate, for and on behalf of Arizona
19   State University, (“ASU”) gives notice that Defendant Facebook, Inc. (“Facebook”) notified
20   ASU that Facebook has permanently disabled the accounts asu_covid.parties and
21   asu_covid.parties2 from Instagram such that the account holder(s) cannot reactivate those
22   accounts. Based on Facebook’s further representation that it has taken steps to prevent this
23   user from creating new accounts, and in accordance with its policies, will disable future
24   accounts created in an attempt to circumvent its policies on recidivism, the immediate relief
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             Case 2:20-cv-01638-DWL Document 11 Filed 08/26/20 Page 2 of 2




 1   being sought by ASU through its Motion for Temporary Restraining Order effectively has
 2   been achieved.
 3         Accordingly, ASU withdraws its Motion (Doc# 2) without prejudice and requests that
 4   the Court vacate the hearing currently set for September 1, 2020.
 5
 6   RESPECTFULLY SUBMITTED this 26th day of August, 2020.
 7                                            By       /s/Sean Garrison
 8                                            Glenn S. Bacal (AZ Bar No. 006812)
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